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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re                                                         Chapter 11

PARAGON OFFSHORE PLC,                                         Bankr. Case No. 16-10386 (CSS)

                      Debtor.


PARAGON LITIGATION TRUST,

                      Plaintiff,

        v.

NOBLE CORPORATION PLC, NOBLE                                  Adv. Proc. No. 17-51882 (CSS)
CORPORATION HOLDINGS LTD., NOBLE
CORPORATION, NOBLE HOLDING
INTERNATIONAL (LUXEMBOURG) S.à r.l.,
NOBLE HOLDING INTERNATIONAL
(LUXEMBOURG NHIL) S.à r.l., NOBLE FDR
HOLDINGS LIMITED, MICHAEL A. CAWLEY,
JULIE H. EDWARDS, GORDON T. HALL, JON A.
MARSHALL, JAMES A. MACLENNAN, MARY P.
RICCIARDELLO, JULIE J. ROBERTSON, and
DAVID WILLIAMS,

                      Defendants.

                          NOTICE OF SERVICE OF DISCOVERY

              PLEASE TAKE NOTICE that, the undersigned counsel for Defendants in the

above-captioned adversary case hereby certifies as follows:

              I am not less than 18 years of age, and on May 28, 2019, I caused a copy of the

following document to be served upon the parties listed on Exhibit 1 attached hereto by

electronic mail, consistent with paragraph 12 of the Scheduling Order [Adv. Dkt No. 56].
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            Responses and Objections of Noble Corporation plc to the Paragon Litigation
             Trust’s First Set of Requests for the Production of Documents


Dated: Wilmington, Delaware
       May 28, 2019
                                  SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

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                                  Counsel for Defendants




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                                          EXHIBIT 1

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